     Case 2:12-cr-00016-WFN     ECF No. 1022     filed 02/02/21   PageID.6037 Page 1 of 2



                                                                                FILED IN THE
 1                                                                          U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT OF WASHINGTON


 2
                                                                       Feb 02, 2021
 3                                                                         SEAN F. MCAVOY, CLERK


 4
 5                             UNITED STATES DISTRICT COURT
 6                           EASTERN DISTRICT OF WASHINGTON
 7   UNITED STATES OF AMERICA,
                                                    No.    2:12-CR-0016-WFN-4
 8                              Plaintiff,
                                                    ORDER DENYING REQUEST
 9          -vs-                                    FOR VIDEO APPEARANCE
10   PETER MICHAEL MAGANA,
11                              Defendant.
12
13         Pending before the Court is Defendant's Motion to Permit Unopposed Withdrawal
14   of Plea, Entry to an Amended Plea, Via Video. ECF No. 1020. The Court does not
15   conduct change of plea or sentencing hearings via video absent exigent circumstances.
16   The Center for Disease Control indicates that "most viruses and other germs do not spread
17   easily on flights because of how air is circulated and filtered on airplanes."
18   https://www.cdc.gov/coronavirus/2019-ncov/travelers/travel-during-covid19.html.
19         The Court has reviewed the file and Motions and is fully informed. Accordingly,
20         IT IS ORDERED that:
21         1. Defendant's Motion to Permit Unopposed Withdrawal of Plea, Entry to an
22   Amended Plea, Via Video, filed January 12, 2021, ECF No. 1020, is DENIED. However,
23   to accommodate Defendant's travel and to allow him to avoid spending the night in a hotel,
24   the Court will reset the sentencing hearing time to later in the morning.
25         2. Defendant's February 11, 2021, sentencing hearing is CONFIRMED but
26   RESET IN TIME ONLY to 11:00 a.m., in person, in Spokane, Washington.
27         The District Court Executive is directed to file this Order and provide copies to
28   counsel AND TO United States Probation Officer Shawn Kennicutt.


     ORDER - 1
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 1              DATED this 2nd day of February, 2021.
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 4                                                  WM. FREMMING NIELSEN
     02-01-21                                SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER - 2
